                Case
2AO 245C (Rev. )   2:11-cr-00434-RFB-PAL
                      Amended Judgment in a Criminal Case               Document 624            Filed 09/05/14(NOTE:
                                                                                                                 Page     1 Changes
                                                                                                                     Identify of 7 with Asterisks (*))
                Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada

           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                 Case Number: 2:11-CR-00434-LDG-PAL-7
                     EUGENI STOYTCHEV
                                                                                 USM Number: Not assigned
Date of Original Judgment:                1/24/2014                              William Gamage
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
✔ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
G                                                                                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
✔ pleaded guilty to count(s) 2 of the Superseding Indictment
G
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                             Offense Ended                 Count
 18 U.S.C. § 1349 &1343               Conspiracy to Commit Wire Fraud                                                1/13/2014                    2




       The defendant is sentenced as provided in pages 2 through                  6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) all remaining
G                                                     ✔are dismissed on the motion of the United States.
                                                 G is G
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 1/13/2014
                                                                                Date of Imposition of Judgment


                                                                                 Signature of Judge
                                                                                 LLOYD D. GEORGE, UNITED STATES DISTRICT JUDGE
                                                                                 Name of Judge               Title of Judge
                                                                                                         September          2014
                                                                                 Date
 AO 245C       Case
             (Rev. )2:11-cr-00434-RFB-PAL
                         Amended Judgment in a Criminal Case    Document 624           Filed 09/05/14          Page 2 of 7
             Sheet 2 — Imprisonment                                                                       (NOTE: Identify Changes with Asterisks (*))

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 DEFENDANT: EUGENI STOYTCHEV
 CASE NUMBER: 2:11-CR-00434-LDG-PAL-7

                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
No Custody




 G The court makes the following recommendations to the Bureau of Prisons:




 G The defendant is remanded to the custody of the United States Marshal.

 G The defendant shall surrender to the United States Marshal for this district:
      G      at                                     G     a.m   G     p.m.        on                                     .

      G      as notified by the United States Marshal.

 G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      G      before 12:00  p.m.
                    2 p.m. on                                            .

      G      as notified by the United States Marshal.

      G      as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                           to

 at                                                       with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                             By
                                                                                              DEPUTY UNITED STATES MARSHAL
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  AO 245C      (Rev. ) Amended Judgment in a Criminal Case
               Sheet 4 — Probation                                                                                     (NOTE: Identify Changes with Asterisks (*))

                                                                                                                    Judgment—Page        3      of         6
  DEFENDANT: EUGENI STOYTCHEV
  CASE NUMBER: 2:11-CR-00434-LDG-PAL-7
                                                                      PROBATION
  The defendant is hereby sentenced to probation for a term of:

   *5 years,
*5 years,     If defendant
          If defendant  payspays  restitution
                               restitution     in full
                                           in full     within
                                                   within     3 years
                                                           3 years thethe Probation
                                                                       Probation    Officer
                                                                                 Officer     is submit
                                                                                         is to  to submit
                                                                                                       thethe defendant
                                                                                                           defendant for for early
                                                                                                                         early
   termination of probation.
 termination  of  supervision.



  The defendant shall not commit another federal, state, or local crime.
  The
  The Defendant
       defendantshallshallnot
                           notunlawfully
                                unlawfullypossess  a controlled
                                             possess            substance.
                                                       a controlled        The defendant
                                                                     substance.          shall refrain
                                                                                  The defendant        from
                                                                                                   shall     any unlawful
                                                                                                          refrain from anyuseunlawful
                                                                                                                               of a controlled
                                                                                                                                         use ofsubstance.
                                                                                                                                                 a controlled
  substance.
  The  defendant The  defendant
                  shall  submit toshall  submit
                                   one drug  test to one 15
                                                  within  drug  test
                                                             days of within 15 days
                                                                     placement       of placement
                                                                               on probation          on probation
                                                                                            and at least            anddrug
                                                                                                          two periodic   at least  two periodic
                                                                                                                             tests thereafter,     drug tests
                                                                                                                                               as determined
  thereafter
  by the court,asnot
                  determined    by the
                     to exceed 104  testscourt.
                                          annually. Revocation is mandatory for refusal to comply.
  G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
  G The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
  ✔ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  G
  G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
  G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                 If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.
           The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
  conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
          defendant’s compliance with such notification requirement.
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            Sheet 4C — Probation                                                               (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: EUGENI STOYTCHEV
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                                        SPECIAL CONDITIONS OF SUPERVISION
1. Possession of Weapons - You shall not possess, have under your control, or have access to any firearm, explosive
device, or other dangerous weapons, as defined by federal, state, or local law.

2. Warrantless Search - To ensure compliance with all conditions of release, the defendant shall submit to the search of
his/her person, and any property, residence, business or automobile under his/her control by the probation officer, or any
other authorized person under the immediate and personal supervision of the probation officer without a search warrant at
a reasonable time and in a reasonable manner. Provided, however, the defendant shall be required to submit to any
search only if the probation officer has reasonable suspicion to believe the defendant has violated a condition or conditions
of release.

3. Debt Obligations - You shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the probation officer.

4. Access to Financial Information - You shall provide the probation officer access to any requested financial information,
including personal income tax returns, authorization for release of credit information, and any other business financial
information in which you have a control or interest.

5. Report to Probation Officer After Release from Custody - You shall report, in person, to the probation office in the district
to which you are released within 72 hours of discharge from custody.

6. Travel will be at the discretion of the Probation Officer for International Travel.
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AO 245C    (Rev. ) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))

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DEFENDANT: EUGENI STOYTCHEV
CASE NUMBER: 2:11-CR-00434-LDG-PAL-7
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                              Restitution
TOTALS           $ 100.00                                            $ WAIVED                         $ 17,010.00


G The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                                    Total Loss*               Restitution Ordered       Priority or Percentage
Richard Sheubrock                                                                                     $2,930.00

Charles Shumany                                                                                       $2,930.00

Randy Kroeplin                                                                                        $5,650.00

Melissa Vasseur                                                                                       $5,500.00




TOTALS                                                           $                          $   17,010.00
G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for           G fine        G restitution.
     G the interest requirement for            G     fine     G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $ 17,110.00
     G                                                         due immediately, balance due

           G not later than                                       , or
           ✔ in accordance with G C, G D, G
           G                                                      E, or   ✔F below; or
                                                                          G
B    G Payment to begin immediately (may be combined with G C,                      G D, or     G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
          Not less than 10% of any income earned while on supervision, subject to adjustment by the Court based upon
          ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




✔ Joint and Several
G
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.
    *Eugeni Stoytchev            2:11-cr-434-LDG-PAL
    *Iavor Stoytchev             2:11-cr-434-LDG-PAL
    *Edelin Dimitrov             2:11-cr-434-LDG-PAL

G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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